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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE




                                         *
      UNITED STATES OF AMERICA           *
                                         *   08-cr-128-01-PB
                     v.                  *   December 1 6 , 2009
                                         *   11:35 a.m.
      KURT SANBORN




                    TRANSCRIPT OF MOTION HEARING
               BEFORE THE HONORABLE PAUL J. BARBADORO




      Appearances:

      For the Government:   Robert Kinsella, AUSA
                            U.S. Attorney's Office
                            53 Pleasant Street
                            Concord, NH 03301

      For the Defendant
      via video:            Alan Baum, Esq.
                            Law Offices of United Defense Group
                            4181 Sunswept Drive, Suite 100
                            Studio City, CA 91604

      Court Reporter:       Sandra L. Bailey, LCR, CM, CRR
                            Official Court Reporter
                            United States District Court
                            55 Pleasant Street
                            Concord, NH 03301
                            (603)225-1454
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   1                         BEFORE THE COURT

   2             THE CLERK:    Court's in session and has for

   3   consideration a motion hearing in United States of

   4   America versus Kurt Sanborn, Criminal Case Number

   5   08-cr-128-01-PB.

   6             THE COURT: All right, we have a video

   7   conference.   I want to be sure that counsel can hear

   8   what's being said.    Can you hear m e , counsel?

   9             MR. BAUM:    Yes, your Honor, I can indeed.

  10             THE COURT: Okay, good.     All right, Mr.

  11   Sanborn filed a letter with me in which he made certain

  12   allegations concerning his desire to take money that he

  13   had accumulated through extra work for purposes of

  14   applying it to restitution but instead his lawyer had

  15   him apply i t , as I understood i t , to pay his outstanding

  16   legal fees.   Mr. Sanborn then filed some kind of motion

  17   to withdraw without prejudice.    And I think these are

  18   serious allegations and if he wants to pursue them, we

  19   ought to find out what's really going on here, because

  20   if we don't deal with it now, chances are good I'll have

  21   to deal with it later on.

  22             So what I propose to do i s , unless someone can

  23   persuade me otherwise, is take up the allegations, find

  24   out what happened, determine whether it could have any

  25   affect on my sentencing judgment, and resolve the matter
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   1   today.

   2              Does someone want to try to persuade me that I

   3   shouldn't do that?

   4              MR. KINSELLA:   N o , judge. I think that you

   5   have at least touched upon the fact that I was at least

   6   a little bit concerned, but I do not object to the

   7   proceeding going forward, that this is probably a matter

   8   that is handled technically under 2255.    Judgment has

   9   been entered.   It's been more than seven days past, but

  10   I don't object to --

  11             THE COURT: Yeah, my view is it hinges on

  12   certain facts, factual allegations, and the best time to

  13   find facts is as close as possible to the time when the

  14   issue arises. I'm not saying that it would have any

  15   effect on my sentencing judgment.    I need to know all of

  16   the details. But if counsel has behaved improperly and

  17   in a way that prejudiced his client and it would affect

  18   potentially the client's sentencing, and the client's

  19   likely to raise the issue in a 2255 later on anyways,

  20   let's get it out on the table and get it resolved.

  21   That's my thought.

  22             MR. KINSELLA:    I agree with that procedure.

  23             THE COURT: All right. Now, Mr. Sanborn,

  24   nobody else is objecting, saying we shouldn't proceed

  25   now.   Mr. Sanborn, what I interpreted your letter to me
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   1   to say i s , judge, at the sentencing you said that at

   2   least in one other case you took into account someone's

   3   willingness to work extra jobs to generate money that

   4   the court couldn't force them to earn to make

   5   restitution prior to sentencing and that you considered

   6   that defendant's actions favorably when you sentenced

   7   him.    And then you in your letter, as I'm understanding

   8   i t , went on to tell m e , judge, I did just that. I took

   9   extra jobs and tried to earn money to accumulate money

  10   to make -- towards making restitution payments, and

  11   that's what I wanted to d o , but my lawyer told me it

  12   wouldn't do me any good and I owed the money in legal

  13   fees anyways, so he just took the money that I was going

  14   to make for restitution to pay the outstanding legal

  15   fees.   And that's what I interpret your letter to me to

  16   say.

  17              Am I correctly interpreting your letter, Mr.

  18   Sanborn?   I'm asking you.   You can stand right there or

  19   sit, however you want. It doesn't matter.

  20              MR. SANBORN:   Your Honor, all of everything

  21   that's in my letter I found out after I left the court.

  22   It actually occurred through my mother and family, all

  23   or most communication was through Mr. Baum and my

  24   mother, so she's here to give you the entire story.

  25              THE COURT: Well, n o , I guess what I'm saying,
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   1   did I correctly interpret your letter to m e .   That you

   2   said, judge, I took extra jobs and worked extra jobs to

   3   accumulate money for the purpose of making restitution

   4   payments, and I wanted to make restitution payments with

   5   that money, but my lawyer convinced me to pay it to him

   6   instead of to making restitution.

   7             Is that -- are you alleging that?

   8             MR. SANBORN:   Everything is accurate in what

   9   you say, your Honor, except he didn't ask me to have

  10   them transfer the money, it was sent on to him

  11   specifically for restitution.

  12             THE COURT: Well, let me try to give you more

  13   specifics. Did you take extra jobs to earn money to

  14   apply towards your restitution, anticipated restitution

  15   obligation?

  16             MR. SANBORN:   Yes, sir.

  17             THE COURT: What jobs did you take?

  18             MR. SANBORN:   I worked -- I have a full-time

  19   job in sales, so I travel a lot, so I was very kind of

  20   makeshift, but I was able to work on weekends and on

  21   Sundays to help put in irrigation systems and things

  22   like that for my brother's landscaping company which he

  23   then gave the money to my mother to save for me in

  24   anticipation of trying to do whatever I could

  25   financially to help pay restitution.
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   1             THE COURT: All right, so in addition to your

   2   sales job you worked for your brother installing --

   3             MR. SANBORN:   Irrigation systems.

   4             THE COURT: Irrigation systems. And your

   5   brother paid the money that he owed to you to your

   6   mother rather than to you.

   7             MR. SANBORN:   I don't have a great track

   8   record of saving money, so it was going right to my

   9   mother so that I would have some form of restitution

  10   based upon Mr. Baum encouraging me to do s o .

  11             THE COURT: All right, so Mr. Baum had in fact

  12   told you it would be a good thing if you could

  13   accumulate some money to apply to restitution.

  14             MR. SANBORN:   And I tried not only by working,

  15   but family and friends also helped participate because

  16   he said the bigger number I could give, the more impact

  17   it would have on this court. And we even got to the

  18   point where we considered selling my mother's house and

  19   things like that to try to do as much as we could to pay

  20   that number down.

  21             THE COURT: All right. How much money did you

  22   accumulate in your mother's possession through your own

  23   labor, working doing installing irrigation systems?

  24             MR. SANBORN:   Only about $5,000.

  25             THE COURT: So about $5,000 was accumulated
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   1   through your labor?

   2               MR. SANBORN:   Correct.

   3               THE COURT: Did you get any additional money

   4   from third parties that was in this pool of money?

   5               MR. SANBORN:   Yes, sir.

   6               THE COURT: And how much was that?

   7               MR. SANBORN:   About $15,000.

   8               THE COURT: All right. S o , you earned 5,000

   9   and your family and friends contributed an extra 15,000,

  10   and all of this was being maintained by your mother, a

  11   total of about $20,000?

  12               MR. SANBORN:   Yes, sir.

  13               THE COURT: And this was separate and apart

  14   from any fee arrangement you had with your counsel?

  15               MR. SANBORN:   We were specifically saving it

  16   and acquiring it to get it to him prior to trial so that

  17   he would be able to present it to you here in this court

  18   that day.

  19               THE COURT: All right. And you say in fact

  20   something else happened to the money?

  21               MR. SANBORN:   I would be telling you from what

  22   I'm being told by my mother and family what happened.

  23   If the court allows, she would be happy to come up and

  24   tell you exactly what occurred.

  25               THE COURT: Well, I'm trying to -- I'm trying
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   1   to understand what you know.   So did you know prior to

   2   sentencing that you had accumulated through your labor

   3   and contributions from family approximately $20,000?

   4             MR. SANBORN:   I knew that my mother had

   5   forwarded at Mr. Baum's request to Kathleen in the

   6   office $20,000 of payments that were designated for

   7   restitution.

   8             THE COURT: All right. And did you have any

   9   discussions with Mr. Baum prior to sentencing about the

  10   plan to offer that as restitution?

  11             MR. SANBORN:   He said to me that the figure,

  12   he said to all of u s , my entire family, that the amount

  13   of money that we had acquired would be an insult to

  14   present to the court.

  15             THE COURT: So you did have the discussion

  16   with him in the presence of other people?

  17             MR. SANBORN:   Yes. He told us that it would

  18   be detrimental to me for you to be presented 20,000

  19   because based on the time it took to finally get to

  20   sentencing, I should have acquired a lot more money than

  21   that.

  22             THE COURT: All right. And so what did -- did

  23   he then say what should happen to the money?

  24             MR. SANBORN:   At that point he went over and

  25   started discussing things with my mother.
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   1             THE COURT: And when did this conversation

   2   take place?

   3             MR. SANBORN:   About two minutes before we came

   4   into the court.

   5             THE COURT: So the first you had heard about

   6   the 20,000 not being offered as restitution was the day

   7   of the sentencing?

   8             MR. SANBORN:   When we left chambers here, Mr.

   9   Baum left, and my family said that they were prepared to

  10   jump out of their seat to say why don't you tell the

  11   judge that you did work, we did raise money and, you

  12   know, maybe $20,000 isn't a lot t o , you know, people,

  13   but it is to u s . And they said that -- my mother at

  14   that point told me that he had her write a handwritten

  15   note to transfer the money from the trust account at his

  16   law firm to their business account for payment.

  17             THE COURT: What was your fee arrangement with

  18   Attorney Baum?

  19             MR. SANBORN:   When I first hired him, he told

  20   me it would be 150,000 to go to trial and 50,000 to

  21   plea, and my family can't afford 150,000, s o .

  22             THE COURT: And did you give him the $50,000?

  23             MR. SANBORN:   We gave him 3 0 .

  24             THE COURT: You gave him 3 0 .

  25             MR. SANBORN:   We still owed him 2 0 .
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   1              THE COURT: And you owed him 2 0 . And what

   2   arrangements, if any, did you make with him concerning

   3   the $20,000?

   4              MR. SANBORN:   There was never -- I mean, we

   5   would just pay him, but there was never any arrangement,

   6   just there was a signed agreement at the outset over a

   7   year ago that had a $50,000 fee in i t , so we still owed

   8   $20,000.

   9              THE COURT: And is it just a coincidence that

  10   the amount you owed him was the same amount that you and

  11   your family had accumulated for restitution?

  12              MR. SANBORN:   I should say I don't really know

  13   how much we owe him because we paid sporadically when we

  14   had money to his bill.    He took the 2 0 , so I'm assuming

  15   it was 2 0 . I don't really know, your Honor, how much is

  16   really owed.

  17              THE COURT: All right.

  18              MR. SANBORN:   I know that we had paid --

  19   through the course of the last year the communication

  20   with Mr. Baum's firm was not truly with Mr. Baum, it was

  21   typically with another gentleman that was calling my

  22   mother and I for money, for payment, and we would do

  23   what we could d o .

  24              THE COURT: All right. Mr. Baum, your client

  25   has in his letter to me and today made certain
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   1   allegations that raise questions about your relationship

   2   with him.    Obviously to the extent that it's necessary

   3   to respond to those allegations, the attorney/client

   4   privilege is waived, and I would ask you, what is your

   5   response to these allegations?

   6               MR. BAUM:   Um, to put the issue in context,

   7   your Honor, I guess I'll go back.

   8               Mr. Sanborn retained my firm.   I'm an employee

   9   of United Defense Group.    It's not my firm.   I'm a

  10   salaried employee. But nonetheless I have reviewed the

  11   history financially with my business office and then I

  12   can talk about my personal contact with Mr. Sanborn and

  13   the restitution issue. But Mr. Sanborn retained United

  14   Defense Group in March of ' 0 8 . At that time he knew he

  15   was under investigation but he had not been charged.

  16   From March of '08 the -- my relationship with the

  17   government resulted in a plea agreement being entered

  18   into. A guilty plea was entered before your Honor or

  19   the magistrate, I don't recall which, and then

  20   eventually sentencing.

  21               Your Honor inquired about fees.   My office

  22   records indicate that the agreed fee was $40,000, and of

  23   that Mr. Sanborn or his mother primarily have paid a

  24   total of $22,500. The payments came in mostly in ' 0 8 ,

  25   and in '09 a thousand dollars total has been paid
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   1   towards that fee.

   2              That was not my motivation or my thinking at

   3   all when the matter of restitution was considered.      Mr.

   4   Kinsella has a number of exhibits that the government

   5   may be offering in this hearing, but they are

   6   essentially e-mails going back to March of '09 between

   7   myself and Mr. Sanborn, and in one or two instances

   8   between myself and Mr. Kinsella, and these e-mails show

   9   a long history of my encouraging Mr. Sanborn to come up

  10   with restitution because I felt that would be very

  11   helpful in the 3553(a) factors concerning his efforts to

  12   make restitution.

  13             The first that is relevant to restitution in

  14   this long chain of e-mails was dated March 19th of ' 0 9 ,

  15   at which time I wrote to Mr. Sanborn, "I have already

  16   filed a motion to postpone the sentence until June and

  17   I'm waiting for the judge's decision which should be

  18   okay.   I'll let you know.   Payment of a substantial

  19   amount towards restitution would be very helpful as

  20   would paying the balance of attorney's fees.    Also,

  21   still waiting to get ready for an evaluation."

  22             Your Honor may recall in the sentencing

  23   memorandum that was filed with the court, there was a

  24   psychological evaluation from a Dr. Drogin.

  25             In my conversations with Mr. Sanborn from the
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                                                                     13

   1   very beginning I emphasized how important restitution

   2   would b e .    Once I was satisfied that I had done my due

   3   diligence in so far as the government having enough

   4   evidence to convict him, and once Mr. Sanborn admitted

   5   to me that he had committed the acts that were alleged,

   6   a plea agreement seemed to be the most appropriate way

   7   to resolve the case rather than a trial. And I've been

   8   practicing criminal law for over 40 years. I practice

   9   mostly in federal court and I'm very much aware of the

  10   application of the guidelines and the 3553(a) factors,

  11   and I pride myself on being able to test the -- to

  12   anticipate what will be important at sentencing and

  13   address those issues.

  14                 S o , I was certainly mindful of how restitution

  15   could have an impact on the court's attitude torwards

  16   Mr. Sanborn and his integrity and his acceptance of

  17   responsibility and so forth.

  18                 Starting before these e-mails I had discussed

  19   with Mr. Sanborn the strategy, if you will, for

  20   sentencing, and that I had to be assured by him that he

  21   realized how important restitution was and he would be

  22   making those efforts.

  23                 The string of e-mails that I believe your

  24   Honor is reviewing now reflect my regular reminding of

  25   Mr. Sanborn of my -- and my encouraging him to address
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                                                                      14

   1   this restitution issue.

   2             I was aware that he had a job at Geocomp.        A

   3   letter from his senior vice president was part of the

   4   package that was submitted to your Honor in the

   5   sentencing memorandum.    And I was aware he was doing

   6   well at that job, but the issues of restitution always

   7   seemed to be that his family was going to come up with

   8   i t , his mother was going to come up with i t , some of

   9   these e-mails refer to a cousin or one of the e-mails

  10   refers to a cousin.   Mr. Sanborn felt that his cousin

  11   was going to come up with 100 to $150,000 towards

  12   restitution.

  13             I keep pretty detailed notes of conversations

  14   that I have with people, telephone conversations, and

  15   I'm reviewing my notes here. I find that in June of '09

  16   at Mr. Sanborn's suggestion I spoke to his mother Judy,

  17   Judith, about restitution.   Mr. Sanborn told me that his

  18   mother was willing to help in the payment of

  19   restitution.

  20             When I spoke with her on June 1st, we spoke

  21   about that subject.   She told me that the only way that

  22   she could raise any kind of money would be selling her

  23   house which was the only security she had for her later

  24   years and that she was very reluctant to do that.     I

  25   told Kurt that I had spoken with his mother and that
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                                                                   15

   1   that was her feeling about restitution.

   2               It was a constant issue between Mr. Sanborn

   3   and m e , and it wasn't a bone of contention.   It was me

   4   trying to counsel him and advise him on ways that he

   5   could improve his position before the court for

   6   sentencing.

   7               Your Honor will recall or the record will

   8   reflect there were a number of postponements for

   9   sentencing, and there were two main reasons. Mr.

  10   Kinsella and I had discussed each time sentencing was

  11   coming up that I needed more time and we filed assented

  12   to motions to continue sentencing repeatedly, and that

  13   was in order to give Mr. Sanborn an opportunity to come

  14   up with restitution, and there was also a problem with

  15   paying Dr. Drogin who wouldn't go ahead and do the

  16   evaluation, which I thought might be helpful, until he

  17   got paid.

  18               So there were a series of postponements, two,

  19   three months at a time for those reasons and those

  20   reasons alone. It had nothing to do with my convenience

  21   or my schedule, it was strictly to improve Mr. Sanborn's

  22   position before the court when it came time for

  23   sentencing.

  24               Concerning the scenario leading up to the

  25   $20,000 issue, there are e-mails in these exhibits that
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   1   reflect our encouraging and our guiding Mr. Sanborn on

   2   how to get that money to u s , including wiring

   3   information, and his repeated assurances that it's on

   4   its way, it's on its way.    What finally happened was a

   5   day or two before I left for court, left California to

   6   come to Concord, I received the e-mail -- or the fax

   7   which is Exhibit 2 3 , and as your Honor can see it says

   8   "Enclosed are three checks totaling $20,000 for Kurt D.

   9   Sanborn."    It did not indicate that they were for

  10   restitution.   The balance for fees were about $20,000.

  11   And I , you know, in all candor I don't doubt that they

  12   intended that this be for restitution.   It was a little

  13   ambiguous, but nonetheless the checks came in.    The

  14   problem was that, and I'm a little uncomfortable saying

  15   this, I don't want it to sound critical, but the issue

  16   has been raised and I feel that it's important to

  17   explain.    The history of promises unfulfilled by Mr.

  18   Sanborn led me to be somewhat skeptical about this money

  19   for a number of reasons. Of the three checks, which I

  20   believe are attached as Exhibit 23a, only one was from

  21   anyone that I knew, and that was his mother for $5,000,

  22   and she was the one who had been making the attorney's

  23   fees payments all along anyway.   I don't think Kurt

  24   Sanborn ever sent us any money.   It always came from his

  25   mother, including the initial retainer and payments
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   1   throughout 2008.   In fact, in July there was a payment

   2   of $10,000, a check from Judith Sanborn, which bounced,

   3   and then was replaced by another check.

   4             So when I got these -- this fax, I didn't know

   5   who these other people were or what had been represented

   6   to them as to why they were sending us money.     I was a

   7   little skeptical frankly because Mr. Sanborn has, in my

   8   opinion, a tendency to exaggerate or perhaps his

   9   credibility is -- I was just skeptical. I didn't know

  10   what had been represented as to why this money was being

  11   sent to us from Linda Coburn --

  12             (Evacuation drill in Mr. Baum's building.)

  13             THE COURT: We will just take a short break.

  14   Please stay available.   These usually take about ten

  15   minutes and we will -- is this our building?    Oh, this

  16   is his building.   We will take a break until you come

  17   back, sir.

  18             MR. SANBORN:   Thank you, your Honor.

  19             THE COURT: All right, so we will -- call me

  20   when he's back.

  21             (Recess taken.)

  22             THE COURT: All right, Attorney Baum, why

  23   don't you finish what you were saying.

  24             MR. BAUM:   Thank you, your Honor.   I was

  25   explaining my thinking so far as why I failed to inform
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   1   the court about these three checks, and a lot of it had

   2   to do with the history of Mr. Sanborn and his somewhat

   3   manipulative attitude towards things, including the fact

   4   of trying to get his -- I'm sorry?

   5              THE COURT: To summarize here, I understand

   6   you're telling me that you had a long history with Mr.

   7   Sanborn in which you had not gotten your bill fully

   8   paid, that Mr. Sanborn's mother at one point bounced a

   9   check to you, and you had had many conversations with

  10   Mr. Sanborn about the importance of trying to provide

  11   restitution, and him having made statements to you

  12   suggesting that some restitution payments would be

  13   forthcoming but nothing materialized, you received these

  14   checks very close to the time of the scheduled

  15   sentencing, only one of them was from a person that was

  16   known to you, you didn't know anything about the other

  17   two, you weren't sure that the checks would clear, and

  18   you therefore didn't think it would be a good idea to

  19   talk about them at the sentencing.

  20             Is that a fair summary of what it is you're

  21   telling me?

  22             MR. BAUM:   That's an excellent summary, your

  23   Honor.   My concern was had I represented to the court

  24   that we now had $20,000 towards restitution.     Had the

  25   court inquired as to the source of the restitution, I
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   1   would have had no answers. Furthermore, at the time

   2   that we appeared before your Honor for sentencing I

   3   didn't know whether those checks would clear, and I

   4   felt, as I explained to Mr. Sanborn in Exhibit 2 1 , the

   5   e-mail that I sent him after I became aware that he and

   6   his family were dissatisfied with my not having brought

   7   up the restitution, especially when your Honor had

   8   inquired about restitution and that commented how that

   9   can sometimes help, my explanation was that I chose not

  10   to mention it because I thought that it might be

  11   counterproductive.

  12             THE COURT: Did you have any -- excuse m e ,

  13   prior to the time of the sentencing, did you have any

  14   conversations with either Mr. Sanborn or his mother

  15   about these checks?

  16             MR. BAUM:   Yes. In the hallway outside court

  17   shortly before the sentencing hearing I contacted my

  18   office and I learned that the checks had been received

  19   by my office the previous day --

  20             THE COURT: Stop, stop, stop.    I'm confused

  21   now.   Are you telling me that the first you learned of

  22   these checks having been received by your office was

  23   when you were here in New Hampshire immediately before

  24   the sentencing?

  25             MR. BAUM:   Yes, your Honor.   The fax that I
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                                                                20

   1   received a couple of days earlier have photocopies of

   2   the checks, which is one of the exhibits before your

   3   Honor, but they had not reached my office by the time I

   4   left for Concord the day before sentencing.

   5             THE COURT: Oh, okay.

   6             MR. BAUM:   The fax with the photocopy had

   7   reached u s , but the checks themselves had not.   I called

   8   my office early that morning of sentencing and I found

   9   out that the checks had arrived in the mail late the day

  10   before, but they hadn't been processed.   So that was

  11   further concern that I had in making a representation to

  12   your Honor that we actually had restitution, I couldn't

  13   make that representation in good faith.

  14             THE COURT: Between the time that you received

  15   the fax and the day of sentencing, did you have any

  16   conversations with either the defendant or his mother

  17   about these checks?

  18             MR. BAUM:   N o , sir.

  19             THE COURT: And then on the day of sentencing

  20   after you called your office and learned that the checks

  21   had been received, did you have any conversations with

  22   the defendant or his mother between the time you learned

  23   that the checks had been received by your office and the

  24   time of the sentencing hearing?

  25             MR. BAUM:   Yes, your Honor, we were all out in
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                                                                21

   1   the hallway, Mr. Sanborn, his mother and several

   2   relatives. I'm not sure that the relatives overheard

   3   the conversation, but I explained that I confirmed that

   4   the office had received the checks but that they hadn't

   5   cleared and I thought it was a bad idea to make a

   6   representation to the court that we had this money for

   7   restitution.   At that time I did talk to the mother

   8   privately about her continuing obligation and promise to

   9   pay the fees, and she agreed to apply the $20,000

  10   towards the balance of fees.   I'm telling you, your

  11   Honor --

  12              THE COURT: Let me in understand the --

  13              MR. BAUM:   -- in all candor --

  14              THE COURT: Let me understand the relationship

  15   between those two conversations. You're describing a

  16   conversation in which Mr. Sanborn was a participant in

  17   which you explained to Mr. Sanborn and his mother that

  18   it would be inadvisable to raise the $20,000 with the

  19   court, and then you were describing another conversation

  20   with the mother that what you say was private in which

  21   you reminded her of Mr. Sanborn's continuing debt to the

  22   firm.

  23              Tell me about the temporal relationship

  24   between these two conversations. When did they occur in

  25   relation to each other?
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   1             MR. BAUM:    Oh, just all within the same couple

   2   of minutes before we came into the courtroom.

   3             THE COURT: Did you pull the mother away or

   4   did you ask Mr. Sanborn to leave?     How did it happen

   5   that you spoke to her privately about the fee?

   6             MR. BAUM:    When I say I spoke to her

   7   privately, I didn't mean to imply that I made any effort

   8   to prevent Mr. Sanborn from listening to what was

   9   discussed.   I was just addressing my comments to Mrs.

  10   Sanborn, and I think that Mr. Sanborn was there at the

  11   time, and then she handwrote in front of everybody this

  12   authorization to apply this $20,000, if it cleared,

  13   towards fees.

  14             THE COURT: Did you suggest to her that the

  15   money should be applied to the fee?

  16             MR. BAUM:    Yeah. Yes.

  17             THE COURT:    Okay.

  18             MR. BAUM:    The only other thing I have to

  19   comment o n , your Honor, is the matter of three jobs that

  20   Mr. Sanborn represented in his motion.    I never heard

  21   anything about him working weekends or extra jobs or

  22   money being accumulated.   All of the representations he

  23   made to me about restitution had to do with members of

  24   his family coming up with the money.    Never said

  25   anything about any other jobs.   I clearly, had I known
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   1   about that, would have informed the court. If you

   2   recall my sentencing memorandum, I tried to present all

   3   of the mitigating factors, and that certainly would have

   4   been something that I would have brought to the court's

   5   attention.   The first I heard of any jobs other than the

   6   one, the Geocomp, was when I saw the motion for

   7   reconsideration that Mr. Sanborn's mother brought.

   8             THE COURT: Is it your position that the

   9   advice you gave Mr. Sanborn and his mother concerning

  10   the issue of whether to mention the money at sentencing

  11   was independent advice that was unrelated to the later

  12   communication you had with Mr. Sanborn's mother about

  13   applying that balance to the outstanding fee balance

  14   with the firm?

  15             MR. BAUM:   That is my testimony, your Honor.

  16   Absolutely unequivocally my principal concern was not

  17   getting the firm paid.   My concern was making the best

  18   presentation to the court concerning Mr. Sanborn and the

  19   sentencing factors.

  20             THE COURT: All right. Now, if you had known

  21   that the $5,000 was earned by Mr. Sanborn through

  22   working additional jobs for the purpose of generating

  23   monies to apply to restitution, would that have affected

  24   your thinking about whether that was something that

  25   should be mentioned to the court, assuming that you
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   1   could independently verify it?

   2             MR. BAUM:   Probably, your Honor, I probably

   3   would have postured it to the court in a way that would

   4   be candid with the court that although the money was in

   5   check from Mrs. Sanborn, if I were satisfied that that

   6   $5,000 was money that Mr. Sanborn had earned and had in

   7   fact given it to his mother for her to send me for

   8   restitution, then that would have been legitimate.     That

   9   would have been a legitimate mitigating circumstance

  10   which I would have asked the court to consider.

  11             THE COURT: Even though it was small in

  12   relation to the total restitution obligation and

  13   arguably is viewed in a different light if it can be

  14   demonstrated that in fact the person took on extra work

  15   assignments and devoted income generated from that to

  16   restitution.   In terms of what it says about somebody's

  17   acceptance of responsibility, efforts to make amends for

  18   his crime and to say what it says about somebody's

  19   potential for rehabilitation, it seems arguably that

  20   that kind of action needs to be viewed differently from

  21   simply someone who is able to prevail upon friends with

  22   means to pay off his restitution obligation in advance.

  23   In terms of what it says to a judge, it seems to me

  24   those two are very different kinds of things. Do you

  25   agree with that or not?
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   1             MR. BAUM:     I agree with that wholeheartedly,

   2   your Honor.   There have been many cases where I have

   3   presented evidence to a court where there has been

   4   substantial restitution and my client has had meager

   5   earnings but has made some effort just along the lines

   6   of not the dollar amount but the sincerity of the

   7   acceptance of responsibility.    So I most definitely

   8   would have brought that to the court's attention and the

   9   dollar amount would not have prevented me from doing

  10   that.

  11             THE COURT: And did anyone tell you at any

  12   point prior to the sentencing that the $5,000 that came

  13   from the defendant's mother was in fact money that the

  14   defendant had himself earned by working additional jobs?

  15             MR. BAUM:   N o , your Honor, that was never

  16   mentioned at all.

  17             THE COURT: The first you heard of that was

  18   after the sentencing?

  19             MR. BAUM:   When I read it in the motion, yes.

  20             THE COURT: Okay.     And I take it you've had

  21   the money removed from the trust account and applied to

  22   the outstanding fee balance owed to the firm?

  23             MR. BAUM:   Oh n o , not at all, your Honor.

  24   Once I was aware of this controversy, I instructed my

  25   office not to touch the money and it's still in the
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   1   trust account, and we will defer to the court if the

   2   court --

   3              THE COURT: Do you have a --

   4              MR. BAUM:   -- makes some ruling.

   5              THE COURT: Do you have a fee agreement with

   6   the defendant in this case?     Is there a written fee

   7   agreement?

   8              MR. BAUM:   Yes, your Honor.

   9              THE COURT: And who is obligated under the fee

  10   agreement.   Is it the defendant or is it the defendant's

  11   mother or who's obligated under it?

  12              MR. BAUM:   If I may review the retainer

  13   agreement, your Honor.    It was signed by Kurt Sanborn,

  14   although all of the commitments and payments were made

  15   by his mother.   On June 1st of 2008 Kurt Sanborn signed

  16   the retainer agreement.

  17              THE COURT: All right. Did you, when you

  18   suggested to the defendant's mother that they apply this

  19   money to the outstanding balance of the firm, did you

  20   inform her as to what consequences would follow, if any,

  21   if she didn't do that?

  22              MR. BAUM:   N o , your Honor.

  23              THE COURT: Specifically did you tell her I'm

  24   not going into court today and I won't represent your

  25   son on this matter unless it's paid or something like
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   1   that?

   2             MR. BAUM:   Oh heavens, n o .   Absolutely not.

   3   Neither in words nor in inference.

   4             THE COURT: All right. Is there anything else

   5   you wanted to tell me?

   6             MR. BAUM:   I always had a very -- n o , your

   7   Honor.

   8             THE COURT: Okay.      Is there anything else you

   9   wanted to tell me about -- anything about this matter

  10   that you feel I need to know?

  11             MR. BAUM:   I can see how Mrs. Sanborn might

  12   have felt -- might have felt pressured.     She's a very

  13   good woman and she's tried to keep her son's commitment

  14   to my firm and help him by making payments when she

  15   could, and I apologize if I caused her any more stress

  16   than this whole experience has caused her.     I have much

  17   greater compassion for her than I do for her son who I

  18   think has been very manipulative to his family and has

  19   contributed or exacerbated their whole experience.

  20             THE COURT: All right. Mr. Kinsella, what if

  21   anything did you want to say in addition to what's

  22   already been said?

  23             MR. KINSELLA:   I think that, and I don't know

  24   if it makes a difference to you, but I think I should

  25   point it out that you have been discussing with Mr.
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   1   Sanborn --

   2              MR. BAUM:   Your Honor, I'm sorry, I can't hear

   3   Mr. Kinsella.

   4              MR. KINSELLA:   I'm sorry.

   5              THE COURT: Can you hear him now?

   6              MR. KINSELLA:   Is that better?

   7              MR. BAUM:   Yes, thank you, your Honor.   Yes, I

   8   can hear you now.

   9              MR. KINSELLA:   You've had some discussion with

  10   Mr. Sanborn and Mr. Baum relating to the $5,000 that

  11   came from the defendant's mother that we've been talking

  12   about was earmarked by the defendant allegedly for

  13   restitution.    However, in his motion to reconsider, the

  14   defendant's mother, in the motion that she signed for

  15   the defendant states, "the defendant had worked in some

  16   cases up to three jobs to be able to accumulate $20,000

  17   in restitution payments". So there's sort of a

  18   disconnect between what was represented to the court in

  19   the beginning, what's now being talked about in the

  20   court based upon what has been represented to the court

  21   today.   I think that Mr. Baum had just mentioned that he

  22   was unaware of the $5,000 that the mother had

  23   contributed, that that would be for restitution, and he

  24   wasn't aware of that fact until he reviewed the motion,

  25   but the motion says it was $20,000 that was earned
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   1   through these jobs.

   2              THE COURT: All right, Mr. Kinsella, will you

   3   remind m e , what was the amount of restitution that was

   4   owed here in total?

   5              MR. KINSELLA:    Slightly more than $290,000.

   6              THE COURT: Okay.     Mr. Sanborn, did you want

   7   to say anything else in response to what you just heard?

   8              MR. SANBORN:    If I may, your Honor.

   9              THE COURT: Yes.

  10             MR. SANBORN:     In Mr. Baum's testimony he

  11   states that he was unaware that these funds would

  12   specifically be designated for restitution.      But if you

  13   look at the e-mail of November 10 that was sent by his

  14   accounting people, it specifically states that the

  15   account is to be made out to the trust account, whereas

  16   the payments that had been made to his office --

  17             THE COURT: Which exhibit number are we

  18   talking about?

  19             MR. SANBORN:     It should be Exhibit 1 6 , your

  20   Honor.   Under account number it says you make it out to

  21   the trust account, whereas any previous payment made has

  22   always been made out directly to his firm.      And if you

  23   reference the checks that were sent, you will see that

  24   they're made out to the Defense Group Trust Account.

  25             I'll also make it absolutely 100 percent clear
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   1   that there was very little communication between Mr.

   2   Baum and myself except that it was constantly a request

   3   not necessarily from Mr. Baum, but from another person

   4   in his office for payment.

   5             We also had to pay $5,000 which, as you can

   6   see, we're not financially wealthy people, so $5,000 is

   7   a lot of money, and we had to pay for the Dr. Drogin

   8   report before that would proceed.   So that was money

   9   also that was earned.

  10             I also want to point out that based upon what

  11   I've heard today from Mr. Baum it makes it very clear to

  12   me that I don't know how he could ever properly defend

  13   me based upon what he's saying.

  14             I would also like, your Honor, Mr. Baum has

  15   brought my mother into this and made it clear that a big

  16   part of the conversations that he's had and conducted

  17   over the last year had been with her.   She's here today

  18   and I would respectfully ask the court to allow her to

  19   talk and tell you, because there's a lot of pieces I

  20   wasn't associated with --

  21             THE COURT: I'm happy to hear what she has to

  22   say, but to be clear, Mr. Baum didn't bring your mother

  23   into this, you brought your mother into it by involving

  24   her in this effort to -- I mean, you're an adult.

  25   You're not a child.   If you wanted to retain counsel and
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   1   pay counsel and interact with counsel, you are free to

   2   do that. You've chosen apparently to involve your

   3   mother.   You also chose to write me a letter that

   4   inevitably would implicate and involve your mother in

   5   this matter.    So it's you who did i t , not anyone else.

   6   But I'm happy to hear, if your mother wants to say

   7   something, I'm happy to hear what she wants to say.

   8              MR. SANBORN:   I agree, sir, and I've taken

   9   full responsibility for i t .   The only reason she is

  10   involved i s , as you can tell, I have not been

  11   financially very good with money.    So the monies that

  12   were paid to Mr. Baum's firm and the monies that I said

  13   were all earned from m e , I gave her money to pay my

  14   bills because I'm not very good at i t , sir, I'm just not

  15   good at i t .

  16              THE COURT: If you want her to say something,

  17   I'm happy to hear what she has to say.    I haven't taken

  18   any sworn testimony here. I'm not doing this with

  19   prejudice to the defendant's right to pursue relief

  20   under Section 2255 which would need to be through an

  21   appropriate motion, I'm pursuing this matter because

  22   when I get a letter from a defendant that makes

  23   allegations about his attorney that call into question

  24   whether his attorney is behaving in accordance with the

  25   requirements that we impose upon attorneys who appear in
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   1   front of u s , I feel duty bound to make some inquiry to

   2   determine whether there's a basis to refer the attorney

   3   for some kind of review either by this court or by the

   4   bars of which he's a member, and that's the purpose for

   5   which I'm conducting this inquiry now, and I'm doing it

   6   in an informal way in an attempt to see whether there's

   7   a need to do something more formal. But, so I'm not

   8   going to ask that your mother be sworn, but if she wants

   9   to say something, I'll be happy to hear what she wants

  10   to say.

  11               MR. SANBORN:   I would welcome that.   Thank

  12   you, your Honor.   One other just quick thing before she

  13   comes up.

  14               THE COURT:   Yup.

  15               MR. SANBORN:   When we were in that hallway

  16   prior to sentencing, obviously a very difficult time, it

  17   was made clear to us that the money, and we did confirm

  18   the next morning on the 20 because we couldn't do it by

  19   the time we left court, that that money had cleared and

  20   was in their account, there's no question about that,

  21   the issue that we have very simply in that motion and

  22   maybe we didn't articulate it because we're not

  23   attorneys was just this.    Knowing what you were saying

  24   in court that day, your Honor, that it was so important

  25   to have earned money, I did, but Mr. Baum elected not
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   1   even to discuss i t , to even bring it up in any way, but

   2   yet one minute before we walked into this courtroom he

   3   pulled my mother aside and had her, if he didn't think

   4   this was restitution money, why did he have her

   5   handwrite a letter that stated he could take the money

   6   out of the trust and put it into the operational

   7   account.   And our concern is just why didn't he put the

   8   best foot forward, and based upon his testimony today,

   9   it's apparent to me that he just didn't have that

  10   intention.

  11              THE COURT: All right, I'll hear whatever --

  12   ma'am, if you want to say something, come on up here so

  13   you can speak into a microphone.   And you can, if you're

  14   comfortable standing there at the lectern, you can do

  15   that.

  16              MRS. SANBORN:   Your Honor, I'm not comfortable

  17   here at all. I think I've only spoken with Mr. Baum

  18   twice other than out here in the hall.   That day we were

  19   all distressed, I admit. We were listening to him tell

  20   the proceeding.   The very last thing he said was about

  21   not presenting you with money because it would be an

  22   embarrassment.    As soon as the people started coming out

  23   of the door prior to our case, he went to his briefcase,

  24   took out a pad like this and asked me to authorize them

  25   to take that $20,000 out.   Now, I have never received a
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   1   statement from them, a financial statement at all,

   2   never, and I did check and -- but I have had many

   3   harassing phone calls from David Rosen in his office

   4   asking me for money, and I finally told him that any

   5   more money, we had no more money, it would have to be

   6   earned first and then given to him, and his statement to

   7   me was sell your house, just outright like that. So I

   8   feel that I'm just as -- that I was right in sending

   9   money.   Any money I had sent is because he has earned

  10   it.   He gives it to m e .   Any money that people have

  11   given us for this restitution --

  12              THE COURT: Well, let me try to be sure I

  13   understand this.    There are three checks here.

  14              MRS. SANBORN:     Yes.

  15              THE COURT: One is for $5,000 made out --

  16   drawn on your account.

  17              MRS. SANBORN:     That's right.

  18              THE COURT: And the other two are drawn on

  19   other accounts.

  20              MRS. SANBORN:     That's right. That was money

  21   that was given to me which he has already started paying

  22   back to these people for this.

  23              THE COURT: All right, so he hadn't worked any

  24   jobs to earn the --

  25              MRS. SANBORN:     Oh, he did.   There was other
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   1   money.    But don't forget, we had to give it to Dr.

   2   Drogin.

   3               THE COURT: Can I just finish, ma'am.

   4               MRS. SANBORN:   Go ahead.

   5               THE COURT: The $5,000 check on the Coburns,

   6   he didn't do any work for that money, that was a

   7   contribution from a friend.

   8               MRS. SANBORN:   N o , n o , it's a loan.

   9               THE COURT: Okay.    And the same from Dr.

  10   Tripathi, that's just a loan that he made, not something

  11   that your son worked for.

  12               MRS. SANBORN:   Well, he is working for i t .

  13               THE COURT: I understand that, but I --

  14               MRS. SANBORN:   That's right. Not extra jobs,

  15   yes, you're right.

  16               THE COURT: I just need to have my questions

  17   answered.

  18               MRS. SANBORN:   Yes.

  19               THE COURT: Do you have any personal knowledge

  20   as to whether the $5,000 that was drawn on your account,

  21   whether that was money that was in fact earnings that

  22   your son acquired and was paid to you rather than him by

  23   working for his brother?

  24               MRS. SANBORN:   My other son --

  25               THE COURT: And just be sure, it's important
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   1   to be truthful with m e .

   2             MRS. SANBORN:     Yes. He had given me some

   3   money but that 5,000 is money Kurt gave to me in bits

   4   and pieces because that's the only way he can do i t .      He

   5   can't take a legitimate, a weekly part-time job in

   6   excess, he travels too much.     So that was his money.

   7             THE COURT: Let me be clear.      You're telling

   8   me that the $5,000 that is the amount of this check that

   9   you wrote to the Defense Group trust account, is money

  10   that your son, the defendant, gave to you, not your --

  11   not the defendant's brother, but the defendant gave it

  12   to you?

  13             MRS. SANBORN:     Yeah, but some of that, one son

  14   gave it to the other and he just gave it to me because

  15   I'm the keeper of i t .

  16             THE COURT: Just so we have no

  17   misunderstanding.   You're telling me the defendant, Kurt

  18   Sanborn, gave you this money, not his brother?

  19             MRS. SANBORN:     Right.

  20             THE COURT: Okay.     And what you're saying is

  21   your understanding i s , that some of that money Kurt

  22   Sanborn got from his brother in exchange for doing work

  23   for his brother.

  24             MRS. SANBORN:     Right.

  25             THE COURT: Okay.     And are you telling me also
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   1   that that $5,000 was money that Kurt Sanborn had

   2   acquired and given to you for the purpose of using it

   3   for restitution?

   4              MRS. SANBORN:   Ah-hum, ah-hum.

   5              THE COURT: You're nodding your head yes.

   6              MRS. SANBORN:   Yes.

   7              THE COURT: Is there anything else you want me

   8   to know?

   9              MRS. SANBORN:   If I could think about i t , but.

  10              MR. KINSELLA:   Judge, may I ask a question?

  11              THE COURT: Yes.

  12              MR. KINSELLA:   The two additional checks, one

  13   from a doctor for I believe 5,000 or 10,000.

  14              MRS. SANBORN:   10,000.

  15              MR. KINSELLA:   And another from the Coburns --

  16              MRS. SANBORN:   Another five.

  17              MR. KINSELLA:   Did you participate in

  18   conversations with them through which they agreed to

  19   give money to the defendant?

  20              MRS. SANBORN:   Yes, they know what it was for.

  21              MR. KINSELLA:   Did they know it was for -- did

  22   they think it was for restitution?

  23              MRS. SANBORN:   Oh yes.

  24              MR. KINSELLA:   Or to pay a legal fee?

  25              MRS. SANBORN:   No.    It was for restitution.
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   1   That's why they both said for the trust account, because

   2   it wasn't to pay the legal fees.

   3              THE COURT: Okay.     Well, thank you, ma'am.

   4   You're all set?    All right.

   5              As I said, I'm not going to treat this as a

   6   2255 motion.   I think the defendant should be free to

   7   decide for himself whether he has any Section 2255 claim

   8   here or not, but his letter was something I simply

   9   couldn't overlook.

  10              I have not taken sworn testimony here today.

  11   I've asked each party to give me their information

  12   concerning i t .

  13              A couple of things. I don't know if it will

  14   be any consolation to you, Mr. Sanborn, but I can't say

  15   that the restitution payments that you were proposing to

  16   make here would have affected my sentencing judgment in

  17   any way.   I really believe that that is quite unlikely

  18   that it would have affected my judgment in any way.       I

  19   feel very strongly that the $15,000 that you were able

  20   to get friends to pay really would not have affected my

  21   judgment in any way.

  22              It might have been, if in fact you could have

  23   demonstrated that you in fact had worked on these other

  24   jobs, affidavits from people who you had done the jobs

  25   for, something from your mother saying you had
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   1   accumulated this restitution account and had that all

   2   lined up in advance of sentencing, that would have been

   3   a mitigating factor in my mind because I can't make you

   4   work to pay restitution.    I can only require you to try

   5   to get a job and to pay a small percentage of your money

   6   towards restitution.   And so although $5,000 is very

   7   small, it could have potentially been another mitigating

   8   factor to add to the mix in terms of sentencing.      But

   9   even s o , I doubt frankly that it would have affected my

  10   sentencing judgment in any way.   And if it did affect my

  11   sentencing judgment, it would only have been a very

  12   minor affect because I had to consider many other

  13   factors in sentencing you.

  14             In terms of what happened here, my principal

  15   concern is whether I need to take any action against

  16   Attorney Baum.   And I'm not prepared, based on what I've

  17   heard today, to conclude that a referral to a

  18   professional conduct committee is warranted.    If you

  19   have a different view of i t , Mr. Kinsella, I'd be

  20   interested in hearing your assessment of the matter.

  21             MR. KINSELLA:    I do not, judge.

  22             THE COURT: All right, Mr. Sanborn, you're

  23   free to make any complaints that you wish to make.       I

  24   would suggest this, however, though.   Having heard the

  25   story, Attorney Baum, I am concerned about the --
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   1   whether Judith Sanborn in fact even has the authority to

   2   assign checks written by others for a different purpose

   3   to be applied to your outstanding fee.   Those

   4   individuals have n o , as far as I can see, have no legal

   5   obligation to the defendant or to your firm, and if they

   6   wrote checks that were intended for restitution, I don't

   7   believe that it's clear to me on this record that Mrs.

   8   Sanborn has any power to assign them to your firm for

   9   purposes of payment of your fee. Now that you've heard

  10   her testimony on that point or her explanation, unsworn

  11   statement, if it's true, do you see the problem?    You

  12   have a third party writing checks that they want to be

  13   applied to restitution, that it's not clear to me they

  14   were given to Mrs. Sanborn, if what she's says is

  15   correct, solely for the purposes of allowing

  16   restitution, not to pay legal fees.   And you'd have to

  17   get permission from those individuals, it would seem to

  18   m e , unless they had given actual or apparent authority

  19   to Mrs. Sanborn to assign the proceeds to your firm.       So

  20   I'm not requiring -- I don't believe I have jurisdiction

  21   over the matter and can't require you to do anything,

  22   but it seems to me at the very least the two checks that

  23   were written by third parties, it's not clear to me at

  24   all that your firm has any legitimate claim to that

  25   money and you ought to give serious thought to refunding
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   1   that money to the individuals who produced the checks.

   2              Do you have a different assessment of the

   3   matter?

   4              MR. BAUM:   N o , not at all, your Honor.   In

   5   fact, as soon as Mrs. Sanborn revoked the authorization,

   6   I instructed, I e-mailed Mr. Sanborn and I said please

   7   have each of these parties let me know or request a

   8   refund, and I will send them their 5,000 and 10,000

   9   respectively, and I haven't received anything, but we

  10   have no intention of transferring that money into our

  11   general account, and when I am requested or instructed

  12   to refund that 20,000, that's exactly what we're going

  13   to d o .

  14              THE COURT: Okay.    And I think that may well

  15   apply to the $5,000 that Mrs. Sanborn wrote to you.

  16   It's a little less clear to me about how that money

  17   should be dealt with since both Mrs. Sanborn and Mr.

  18   Sanborn say that's his money that he earned, but

  19   nevertheless, even if a client gives money to an

  20   attorney to be used for one purpose, I think an attorney

  21   has to be very careful and there are circumstances under

  22   which the attorney can disregard those instructions and

  23   instead apply to an outstanding fee balance presents a

  24   complicated set of questions that you might be better

  25   off simply avoiding by refunding that money to her.
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   1               I don't for a minute dispute your right to be

   2   paid for your services. Mr. Sanborn entered into a fee

   3   agreement with your firm.      You're entitled to be paid.

   4   And it is not in any way troubling to me that your firm

   5   would demand payment and take whatever actions are

   6   necessary to insure that the firm is paid consistent

   7   with your ethical obligations to Mr. Sanborn.      And so

   8   I'm not in any way suggesting that you shouldn't be

   9   paid.   I'm simply suggesting that under the

  10   circumstances under which this money found its way into

  11   your trust account, and again, I'm not ordering you to

  12   do this, I'm simply suggesting that this may be the more

  13   prudent thing to d o .   The more prudent thing to do may

  14   be simply refund the entire balance while still

  15   maintaining a demand that you wish to make against Mr.

  16   Sanborn for any outstanding unpaid attorney's fees.

  17               MR. BAUM:    I agree, your Honor, and we have

  18   every intention, we will do that. I would prefer

  19   refunding the two checks from the other parties to them

  20   directly.   So if Mr. Sanborn or his mother will provide

  21   me with some indication that that's consistent with what

  22   they want, then that's what we'll d o , and we will send

  23   the 5,000 back to Mrs. Sanborn.

  24               THE COURT: That, I think that would be the

  25   easiest thing to d o .   Mr. Sanborn, you're not asking me
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   1   for any particular relief at this point with respect to

   2   your case or your sentence, but with respect to the

   3   money, does that seem to you to be an appropriate thing

   4   to do here, to simply obtain the necessary

   5   authorizations from the individuals who wrote the

   6   checks, allowing those monies to be refunded to those

   7   individuals, and having the firm refund the $5,000 to

   8   your mother?

   9             MR. SANBORN:   That's absolutely fine, your

  10   Honor, I just -- the money was supposed to be to help

  11   start paying down what I owe, and I think that -- we

  12   can't rewrite history and I still am just totally

  13   confused of why a defense attorney wouldn't try to

  14   portray this in the best light, and that day he allowed

  15   you to continually discuss how I made no efforts when he

  16   knew two minutes earlier in that hallway he had assigned

  17   papers to divert money from restitution payments to his

  18   personal account, and I'm just -- this whole motion

  19   isn't about resentencing or any of that. It's about we

  20   can't rewrite what happened that day.

  21             THE COURT: Let me say a couple things.

  22   First, I think we've agreed on the appropriate method to

  23   get the money out of the trust account and back to the

  24   individuals involved.

  25             You say you can't rewrite history and that you
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   1   say your purpose was to get restitution to the victim.

   2   If that is s o , there is absolutely nothing prohibiting

   3   you from simply getting appropriate checks cut to the

   4   probation office for the purpose of paying this money

   5   directly to the victims for restitution.      S o , if you're

   6   really -- if that's what your real concern i s , not

   7   simply trying to get a reduction in your sentence but

   8   trying to get restitution and those people are willing

   9   to stand by and produce that money for restitution in

  10   exchange for your agreement to try to repay them at a

  11   later date, then I strongly encourage you to do that.

  12   It won't affect your sentence one way or another whether

  13   you do it or don't do i t , but if that's what you're

  14   intending to d o , it won't make the victim whole, but

  15   something approaching 7 , 8 percent of the total

  16   restitution balance certainly wouldn't hurt if you

  17   really do want to make amends and compensate the victim

  18   for the -- in part.

  19              S o , if you're willing to do that, I would

  20   encourage you to do i t .   I'm not requiring you to do i t .

  21   I'm telling you that it won't affect your sentence in

  22   any way.   But if that's what you really want to d o , you

  23   can see that that happens.

  24              With respect to whether you're trying to

  25   understand your lawyer's position, and I'm not
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   1   interested in defending your lawyer, I simply will tell

   2   you that he is right about this.   If he had walked in

   3   and said, judge, I've got a check for 20 grand here, 15

   4   of which had been -- or from his perspective of what he

   5   says is true, he didn't know this was -- any of it was

   6   because of jobs you worked, simply we got the mother and

   7   some friends that are willing to advance the defendant

   8   some money to pay the restitution and we're agreed to

   9   offer it now, I would have said, great, thank you, I

  10   appreciate that, but it would not have affected my

  11   sentencing judgment in any way, and I think he was

  12   essentially correct about that assessment.

  13             Certainly to the extent someone can make

  14   restitution to a victim and the victim stands up in

  15   court and says, judge, restitution has been made to m e ,

  16   I am grateful, I am satisfied, I believe this defendant

  17   has shown true remorse and has tried to make amends, if

  18   a victim says that to me at a sentencing hearing, that

  19   can affect my sentencing judgment.

  20             If a defendant undertakes efforts to earn

  21   money himself that he otherwise, I couldn't otherwise

  22   compel him to earn and devotes that to restitution in

  23   advance of sentencing, that could have an affect,

  24   although given the amounts here, at most would have had

  25   a modest affect in your sentence. But simply coming
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   1   into court and saying I've got wealthy friends who can

   2   pay that debt off, judge, let me g o , that isn't

   3   happening with m e .    It doesn't cut i t , it never has, it

   4   never will.   And given the crime that you committed, you

   5   would have been going to prison anyway.       So I don't want

   6   to give you any false allusions about that.

   7              So your lawyer, if under the circumstances, if

   8   they are as he described them, that I get these checks,

   9   little explanation, I don't hear that they're even

  10   deposited until the day of the sentencing hearing, it's

  11   only $20,000, I don't know anything about the defendant

  12   having worked multiple jobs to try to get the proceeds,

  13   his judgment about that is an entirely appropriate

  14   judgment for a lawyer to make because in fact that

  15   information would not have benefitted you, I'm confident

  16   in saying that.

  17             Now, if there -- there were certain risks

  18   associated with i t .   I f , for example, I've got the

  19   restitution but it's not -- he makes a statement like

  20   that and it turns out the checks bounce, now you say he

  21   knew they were deposited or they had been deposited as

  22   of that day, he didn't tell me he knew they had been

  23   deposited, he suggested he had some concern about

  24   whether they would in fact clear.      Ordinarily when

  25   people make a restitution payment in advance of
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   1   sentencing, they make i t .   They give it to the probation

   2   office in advance of sentencing.     This was done at such

   3   a late date that it would have been impossible,

   4   virtually impossible to do that.

   5              S o , you may, and you are free, I'm not in any

   6   way suggesting that you should or should not, you are

   7   free if you believe that your lawyer had not acted

   8   consistent with his professional responsibilities to

   9   pursue the matter with an appropriate professional

  10   conduct committee.   You are free if you believe that you

  11   have received ineffective assistance of counsel to raise

  12   that issue in an appropriate motion in an appropriate

  13   time. The motion is called a Section 2255 motion.        The

  14   court has forms that deal with i t .   Ordinarily you have

  15   to bring that claim within one year of the judgment in

  16   the case or it is barred.     If you bring such a claim, I

  17   will consider i t , but I'm not giving you any false hope

  18   about any such claim really being meritorious, but

  19   you're free to do i t .   So I'm not compromising you from

  20   doing anything.   I just was unwilling to let this matter

  21   go without further investigation having received your

  22   letter.   Having received your letter and heard each

  23   parties' view of i t , it's not my view that I am duty

  24   bound to refer this matter.     What I have heard here does

  25   not suggest to me that Attorney Baum breached his
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   1   professional conduct obligations, and instead this

   2   appears to be a matter that was in the nature of a

   3   misunderstanding.   I'm not here to praise Attorney Baum

   4   about this, that's not my job, nor is it to criticize

   5   him.   My job is to figure out did he violate his

   6   professional conduct obligations in such a way that

   7   would require me to refer it to a professional conduct

   8   organization, and while I'm not pleased with all of his

   9   actions, I don't feel that he has engaged in conduct

  10   that violates his professional conduct obligation, so

  11   I'm not prepared to make a referral at this time.    Yes?

  12             MR. SANBORN:   Your Honor, I guess, you know,

  13   this whole thing has been drawn out for me and my family

  14   and what we really wanted to show more than anything was

  15   intent. That I had good intentions. I continue to have

  16   good intentions. And I hear it all the time from

  17   attorneys. My question i s , where was his intent and,

  18   you know --

  19             THE COURT: Well, I think he had multiple

  20   intents. His intent was to try to represent you and get

  21   the lowest possible sentence for you by urging you

  22   repeatedly to come up with restitution money.

  23             MR. SANBORN:   And I tried.

  24             THE COURT: You delayed until the very last

  25   minute providing any and then you provided a very small
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   1   percentage of the total result. He made a judgment that

   2   wouldn't be in your interest to raise that matter with

   3   the court based on what he says he knew at the time.

   4   That seems to me to be an entirely appropriate judgment.

   5   He also knew that he had an outstanding fee obligation,

   6   and he saw this money as available to satisfy his fee.

   7   I would not have pursued the matter in the same way that

   8   he did.   H e , having heard the circumstances,

   9   understanding the details of it now is prepared to

  10   refund the money, and I'm not prepared to say that that

  11   -- that his actions violate his obligations under the

  12   professional conduct code, and beyond that I'm not

  13   saying you should be happy or satisfied with what he did

  14   in this case, I'm simply saying I'm not satisfied that I

  15   have a duty to refer this for further investigation by a

  16   professional conduct committee.   I would not have

  17   pursued the matter in the same way that he pursued i t .

  18   I would have, based on what he says he knew, I would

  19   have most likely made the judgment not to mention it at

  20   the sentencing hearing.   If I could have gotten the

  21   money in advance, far enough in advance and I was

  22   satisfied that it was legitimate, from a legitimate

  23   source of funds that could be applied to restitution, I

  24   would direct that the restitution be paid in advance to

  25   the probation office, well in advance, but he didn't get
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   1   it until the very end.

   2              What I would not have done is I would not have

   3   spoken to your mother and asked the mother to assign

   4   that to the outstanding fee balance. I simply would

   5   have left the money in the account until after the

   6   sentencing hearing and then explored the matter further

   7   with your mother and you, making clear that we're

   8   prepared to refund the money to you but not prepared to

   9   abandon our demand that you pay our fee because you owe

  10   him just like you owe anybody else that does things for

  11   you.   You have a contractual obligation to pay him.

  12   He's entitled to seek payment from you.   But under these

  13   circumstances, I would not have asked the mother to

  14   assign the money to the payment of the outstanding fee

  15   balance. I would have instead, especially because if

  16   two of the three checks come from third party sources

  17   and the third comes from your mother who is not

  18   contractually obligated to pay your fee, you are, I

  19   would have refunded the money and continued to make

  20   demand that you make payment.   His decision to do

  21   otherwise, under these circumstances it is not clear to

  22   me that it is a professional conduct violation and Mr.

  23   Kinsella is not arguing that it i s , so I'm not prepared

  24   to make a referral. That's all I can say about that.

  25             MR. SANBORN:   Thank you for the time.     I
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   1   appreciate i t .

   2              THE COURT: All right, is there anything else

   3   we need to cover today?

   4              MR. KINSELLA:    N o , thank you.

   5              THE COURT: All right, thank you.

   6              MR. BAUM:    Your Honor?

   7              THE COURT:    Yes?

   8              MR. BAUM:    Your Honor, I would like the

   9   exhibits, I mean they're not my exhibits, but could they

  10   be made part of the record?

  11             THE COURT: Yes, the exhibits will be made

  12   part of the record.

  13             MR. BAUM:     Thank you, your Honor.

  14             THE COURT: Is there anything else?

  15             MR. BAUM:     N o , your Honor.

  16             THE COURT: All right, thank you.

  17             (Adjourned at 2:35 p.m.)

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   1

   2                     C E R T I F I C A T E

   3

   4             I , Sandra L. Bailey, do hereby certify that

   5   the foregoing transcript is a true and accurate

   6   transcription of the within proceedings, to the best of

   7   my knowledge, skill, ability and belief.

   8

   9

  10   Submitted: 6/17/10       / s / Sandra L. Bailey
                                SANDRA L. BAILEY, LCR, CM, CRR
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